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An Introduction to DASH
(Dynamic Adaptive Streaming over HTTP)

   Presented by Ye-Kui Wang (slides mostly by Thomas Stockhammer)
                         April 2015, San Diego



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    Motivation: Consumer Internet Video Composition


               25

                                    Video Calling

               20                   Internet-Video-to-TV

                                    Internet-Video-to-PC: Long Form

                                    Internet-Video-to-PC: Short Form
               15
    EB/Month




                                    Internet-Video-to-PC: Live

                                    Ambient Video and Internet PVR
               10



               5



               -
                                2009                   2010       2011            2012             2013                     2014
                   Source: http://ciscovni.com, EB: 1e18 bytes

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    Global Mobile Data Traffic




                                                                                       46%




    Source: http://www.ericsson.com/mobility-report




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    Adaptive Streaming over HTTP

    •   Basic Approach: Adapt Video to Web rather than Changing the Web

    •   Streaming realized by continuous Short Downloads
         –   Downloads in small chunks to minimize bandwidth waste
         –   Enables monitoring consumption and tracking clients
    •   Adaptation to Dynamic Conditions and Device Capabilities
         –   Adapts to dynamic conditions anywhere on the path through the Internet or home network
         –   Adapts to display resolution, CPU and memory resources of the client
         –   Facilitates “any device, anywhere, anytime” paradigm
    •   Improved Quality of Experience
         –   Enables faster start-up and seeking (compared to progressive download)
         –   Reduces and may eliminate rebuffering, skips, freezes and stutters
    •   Use of HTTP
         –   Well-understood naming/addressing approach
         –   Provides easy traversal for all kinds of middleboxes (e.g., NATs, firewalls)
         –   Enables cloud access, leverages existing HTTP caching infrastructure
         –   Enables client-driven deployments
         –   Enables reuse of existing web technologies: authentication, authorization, etc.



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Scalability and Cost: Leveraging HTTP Caches




                                                                                    Time
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Adaptive Streaming over HTTP – Common Understanding

1 Encode  each video at
  multiple bitrates                                     4 Make each segment
                                                          addressable via an
                                                                                   5 Client makes decision
                                                                                     on which segment to         6 Client acquires a license
                                                                                                                   for encrypted content
                                                          HTTP-URL                    download
2 Split the videos into small
  temporal segments                                                                                              7 Client splices segments
                                                                                                                   together and plays back
                                                                                                                       0010101000010   0101010100011   0111010001101
                                                                                                                            10              10             0101


  0010101000      0101010100       0111010001
    01010           01110           1010101

     0010101000       0101010100       0111010001
       01010            01110           1010101

         0010101000       0101010100       0111010001
           01010            01110           1010101




3 Encrypt each segment



                                                            Media         HTTP                                                                     DRM
Media Capture                          DRM Encryption        Origin       Cache                       Client                                      License
and Encoding                              Server            Servers      Servers                     Devices                                      Server


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                                Adobe
                Apple HLS        HDS          MS SS
                   2008                       2008

         MPEG
                                                         W3C
         2010


  OIPF                                                          HbbTV,
                                                                 ATSC,
  2009                                                          DVB,...


3GPP                         MPEG DASH
                                                                    DASH IF
2009                        ISO/IEC 23009-1




                   Common Delivery Format


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        Timeline and Standards in MPEG

                         18 Responses                                Draft             Final Draft                    Published as
                                           Committee Draft
    CfP Issued           and Working                             International       International                    International
                                               (CD)
    April 2010            Draft (WD)                            Standard (DIS)          Standard                        Standard
                                              Oct. 2010
                          July 2010                               Jan. 2011           August 2011                      April 2012




        Fastest time ever that a standard was developed in MPEG to address the demand of the market

    •     ISO/IEC 23009 Parts
            –    Part 1: Media Presentation Description and Segment Formats
            –    Part 2: Conformance and Reference Software
            –    Part 3: Implementation Guidelines
    •     Other Relevant MPEG Standards
            –    14496-12: ISO Base Media File Format (ISOBMFF)
            –    14496-15: Carriage of NAL unit structured video in ISOBMFF
            –    23001-7: Common Encryption in ISOBMFF
            –    ISO/IEC 14496-30: Timed Text and other visual overlays in ISOBMFF
            –    Codec specs for AVC, HEVC, audio, etc.



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    MPEG – Dynamic Adaptive Streaming over HTTP

    •   Goal
         – Develop an international, standardized, efficient solution for HTTP-based
           streaming of MPEG media
    •   Major Objectives and Design Principles
         – Do the necessary, avoid the unnecessary
         – Be lazy: reuse what exists in terms of codecs, formats, content protection,
           protocols and signaling
         – Be backward-compatible (as much as possible) to enable deployments
           aligned with existing proprietary technologies
         – Be forward-looking to provide ability to include new codecs, media types,
           content protection, deployment models (ad insertion, trick modes, etc.) and
           other relevant (or essential) metadata
         – Enable efficient deployments for different use cases (live, VoD, time-shifted,
           etc.)
         – Focus on formats describing functional properties for adaptive streaming, not
           on protocols or end-to-end systems or implementations
         – Enable application standards and proprietary systems to create end-to-end
           systems based on DASH formats
         – Support deployments by conformance and reference software,
           implementation guidelines, etc.

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Scope of MPEG DASH (Shown in Red)




     MPD                                                       Control Engine
               MPD




                                                                                                    Media Engines
                          MPD




                                                              MPD             Segment
      ...




                                     MPD Transport           Parser            Parser
                ...




                          ...




                                        HTTP 1.1                        HTTP Client



            HTTP Server                                                DASH Client




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     Major Functional Components (1) – Data Model

     •   Provide information to a client, where and when to find the data that
         composes A/V experience  MPD
     •   Provide the ability to offer a service on the cloud and HTTP-CDNs  HTTP-
         URLs and MIME Types
     •   Provide service provider the ability to combine/splice content with different
         properties into a single media presentation  Periods
     •   Provide service provider to enable the client/user selection of media content
         components based on user preferences, user interaction device profiles and
         capabilities, using conditions or other metadata  Adaptation Sets
     •   Provide ability to provide the same content with different encodings (bitrate,
         resolution, codecs)  Representations
     •   Provide extensible syntax and semantics for describing Representation and
         Adaptation Set properties  Descriptors
     •   Provide ability to access content in small pieces and do proper scheduling of
         access  Segments and Subsegments
     •   Provide ability for efficient signaling and deployment optimized addressing 
         Playlist, Templates, Segment Index
     •   Provide ability to enable reuse of existing encapsulation and parsing tools 
         MPEG2-TS and ISO-BMFF


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     DASH Data Model


        MPD                                                                                                          Segment Access
                              Period id = 2        Adaptation Set 1
                                                 BaseURL=http://abr.rocks.com/
     Period id = 1            start = 100 s                                                                        Initialization Segment
      start = 0 s                                                                Representation 3
                                                                                                                     http://abr.rocks.com/3/0.mp4
                            Adaptation Set 0        Representation 1
                                                    Rate = 500 Kbps                 Rate = 2 Mbps
                             subtitle turkish                                      Resolution = 720p
     Period id = 2                                                                                                    Media Segment 1
     start = 100 s                                  Representation 2                                                    start = 0 s
                                                                                                                     http://abr.rocks.com/3/1.mp4
                            Adaptation Set 1         Rate = 1 Mbps
                                                                                     Segment Info
                                video                                               Duration = 10 s
     Period id = 3                                  Representation 3                                                  Media Segment 2
     start = 300 s                                   Rate = 2 Mbps                    Template:                         start = 10 s
                                                                                   3/$Number$.mp4
                            Adaptation Set 2                                                                         http://abr.rocks.com/3/2.mp4

                             audio english          Representation 4
     Period id = 4                                   Rate = 3 Mbps
     start = 850 s          Adaptation Set 3
                             audio german




                                                  Selecting/Switching               Well-defined                     Media Delivery
 Splicing of arbitrary        Selection of
                                                   of Representation              media format, i.e.               Format, chunks with
   content, e.g. ad       Components/Tracks
                                                       based on                  ISO BMFF or MPEG-                 unique addresses +
       insertion          based on properties
                                                    bandwidth, etc.                     2 TS                        associated timing


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       Representations in One Adaptation Set
       Enabling Seamless Switching
                     Role and Properties of each Media Component, e.g. language, main video, accessibility

                                                            frame rate, spatial resolution, field/frame coding


                                                                        Codec, profile, level, bandwidth

 “Original“ Video
Common to all Reps                                                                                                                        DASH Client

                          Processing A
                         (Subsampling,                          Encoding 1                             Decoding 1
                              etc.)
                                                                                                                             Processing-1
                                                                                                                                 A*
                                                               Encoding 2                              Decoding 2
                          Processing B
                         (Subsampling,                                              HTTP Access
                              etc.)                                                   Client                                 Processing-1
                                                                Encoding 3                             Decoding 3                B*



                                                                Encoding 4                             Decoding 4
                          Processing C
                                                                                                                             Processing-1
                         (Subsampling,
                                                                                                                                 C*
                              etc.)
                                                                Encoding 5                             Decoding 5


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         Representation and Segments for ISO BMFF

 ftyp              moov            moof        mdat        moof        mdat       moof        mdat                       moof             mdat




         Initialization
                                              Media Segment
           Segment


     •      Representations are conceptual, Segments are accessible and well defined data units
     •      For ISO BMFF based media formats, segments are based on fragmented movie files
     •      Signaling per Representation in MPD
              –   The type of the segment, mostly an Initialization or Media Segment
              –   The URL of each media segment through explicit list or template, or byte range
                    •     Number template: http://abr.rocks.com/Rep1/$Number$.mp4  http://abr.rocks.com/Rep1/1.mp4
                    •     Time template: http://abr.rocks.com/Rep1/$Time$.mp4  http://abr.rocks.com/Rep1/3465.mp4
                    •     Segment Index & byte ranges: http://abr.rocks.com/Rep1.mp4  http://abr.rocks.com/Rep1.mp4 range 3190-8959
              –   The (approximate) start time and duration of each media segment (for seeking)
              –   Start with SAP indication: Indicates SAP type at the start of a segment
              –   The mapping of the internal movie time to the global media presentation timeline
              –   The segment availability times for dynamic services

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     Major Functional Components (2) - Timing

     • Common Media Presentation Time
        – Provide ability to present content from different adaptation sets
          synchronously
        – Provide ability to support seamless switching across different
          representations
     • Switching Support features
        – Signalling of Stream Access Points
        – Segment Alignment to avoid overlap downloading and decoding
     • Play-out and decode times per Segment and Track fragment
        – Provide ability to randomly access and seek in the content
     • Segment Availability Time
        – Mapped to wall-clock time
        – Expresses when a segment becomes available on the server and
          when ceases it to be available
        – Provide ability to support live and time-shift buffer services with content
          generated/removed on the fly


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     Major Functional Components (3) - Operations

     • Provide ability for personalized access to media presentation, e.g.
       targeted advertisement  MPD Assembly with xlink
     • Provide ability to provide redundant content offering  Multiple
       Base URLs
     • Provide ability to announce unforeseen/unpredictable events in live
       services  MPD Updates
     • Provide ability to send events associated with media times 
       Inband and MPD-based Event Messages
     • Provide the ability to log and report client actions  DASH metrics
     • Provide ability to efficiently support trick modes  Dedicated IDR-
       frame Representations and Sub-representations
     • Provide ability to signal collection of a subset/extension of tools 
       Profiles and Interoperability Points




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     Status of MPEG DASH in Industry

     •   DASH Industry Forum (http://dashif.org)
          –   Founded in 2012 to promote and catalyze market adoption of MPEG DASH (70
              members)
          –   Established a mediator role among different communities: standardization organizations,
              interoperability groups, larger and smaller business entities, researchers, open source
              community, public and press
          –   Successful demonstrations and events at IBC’12, MWC’13, NAB’13, …
          –   Published DASH-AVC/264 Interoperability Guidelines
          –   Published draft versions of test vectors, test services, conformance software and open
              source reference client based HTML-5 extensions and Javascript
     •   Many SDOs adopt MPEG-DASH as THE technology for Internet TV
          –   HbbTV, DTG, 3GPP, DLNA, ATSC, OIPF, CableLabs and many more …
     •   Internet Streaming Services based on DASH
          –   YouTube: http://dash-mse-test.appspot.com/dash-player.html
          –   Netflix continues to stream DASH compatible content (but does not use MPDs)
          –   NAGRA and Abertis telecom launch hosted multi-screen service
          –   DASH is the transport format for LTE broadcast systems
          –   Samsung and Orange announced to deploy DASH and HEVC
          –   …



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DASH Related Standardization Activities in Different SDOs




  • MPEG  bug fixing & some core experiments
  • 3GPP  lots of work on DASH over eMBMS/LTE Broadcast
  • DVB  defining a toolset for broadcasters to deploy their
    services with DASH over the top (mostly HbbTV context)
  • ATSC, SCTE  deploying OTT/Hybrid based on DASH
  • DASH-IF  create and demonstrate functionalities and
    interoperability
  • W3C  browser integration
  • IETF  delivery optimizations: CDNI, HTTP2.0, Multicast




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     Ongoing Work on DASH in MPEG

     • Recurring work: Corrigenda, Conformance, Guidelines, integration
       of new codecs
     • Amendment of Second Edition on the way to support
         – Improved live services and robustness
         – Profile for Ad Insertion
     • Specific topics currently under work
         – Descriptor for Spatial Relationship in DASH (SRD)
         – Server and Network assisted DASH Operation (SAND)
         – DASH Client Authentication, Content Access Authorization,
           Controlling the Client Behavior
         – Quality-based streaming
         – DASH over emerging protocols HTTP/2.0 and web sockets
         – SAP-Independent Segment SIgnalling (SISSI)
         – Content aggregation and playback control (CAPCO)
         – …

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